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                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA

In re:
                                                   Chapter 11
Watertech Holdings, LLC.,
                                                   Case No. 20-00662-jw
                      Debtor.


                                CERTIFICATE OF SERVICE

         I, the undersigned Susan S. Stancil, an employee with McCarthy, Reynolds, & Penn,

LLC, Attorneys for the Debtor, do hereby certify, under penalty of perjury, that I have served

the Consent Order Establishing Bidding and Other Procedures in Connection with the

Sale of Assets of the Debtor and Granting Protections to the Proposed Purchaser, entered

April 15, 2020 [Docket No. 51], upon the creditors and other parties in interest, as shown on

the attached list, and that same was served by depositing in the US Postal Service, first-class

mail, postage prepaid, on the 17th day of April 2020, in Columbia, SC.

                                            McCARTHY, REYNOLDS, & PENN, LLC


                                            /s/ Susan Y. Stancil
                                            Susan Y. Stancil
April 17, 2020                              1517 Laurel Street (29201)
Columbia, South Carolina                    Post Office Box 11332
                                            Columbia, South Carolina 29211-1332
                                            (803) 771-8836
                Case 20-00662-jw         Doc 52   Filed 04/17/20          Entered 04/17/20 13:31:18      Desc Main
Label Matrix for local noticing               3D Systems Incorporated Page 2 of 5
                                                   Document                                 AT&T Mobility
0420-2                                        PO Box 534963                                 PO Box 6463
Case 20-00662-jw                              Atlanta GA 30353-4963                         Carol Stream IL 60197-6463
District of South Carolina
Charleston
Fri Apr 17 11:43:13 EDT 2020
AT&T Phone                                    Aerosol Reasearch & Engineering Labs          Albemarles Point Center SPE, LLC
PO Box 105262                                 15320 S. Cornice Street                       c/o Insite Properties, LLC
Atlanta GA 30348-5262                         Olathe KS 66062-7519                          1213 West Morehead St. Ste 150
                                                                                            Charlotte NC 28208-5213


Auburn University Poultry Science Dept        Bank of America                               Carolina Fluid Components, LLC
201 Poultry Science Building                  PO Box 25118                                  PO Box 601687
Auburn University AL 36849-5416               Tampa FL 33622-5118                           Charlotte NC 28260-1687



George Barry Cauthen                          Charleston Imaging Products, Inc.             Charleston Telecom Solutions
PO Box 11070                                  C/O Sean P Mummert                            402 Glouchester Court
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                                              Mt. Pleasant SC 29466-8090


(p)CHARLESTON WATER SYSTEM                    Charlie Strickland                            Charter Communications
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CHARLESTON SC 29402-0017                      San Antonio TX 78261-2312                     Cincinnati OH 45274-2614



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1111 Metropolitian Avenue, Suite 900          3601 Country Club Drive                       c/o Rick M. Crosby
Charlotte NC 28204-3413                       Gastonia NC 28056-1619                        802 Coleman Boulevard, Ste 101
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                                                                                            Addison TX 75001-5029


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Addison TX 75001-5029                         Mount Pleasant SC 29466-8167                  111 Congress Avenue
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Florence Darlington Technical College         Forager Investment Group,Page
                                                   Document             LLC 3 of 5          Forager Systems, Inc.
Accounts Receivable                           186 Seven Farms Drive, Ste. F 400             186 Seven Farms Drive, Suite F400
2715 W. Lucas Street                          Charleston SC 29492-8510                      Charleston SC 29492-8510
Florence SC 29501-1242


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Columbia, SC 29201-2448


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Patricia Christine Fei, Trustee of the
James R. Rei Revocable Trust
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North Charleston SC 29405-7439
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                                                   Document           Page 4 of 5            Rick M. Crosby
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